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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                :
                                         :
      v.                                 :        Case No. 1:22-cr-0096-CKK-04
                                         :
PAULA “PAULETTE” HARLOW,                 :
    Defendant.                           :


               DEFENDANT HARLOW’S NOTICE OF JOINDER

      Defendant, Paula “Paulette” Harlow, hereby notes her Joinder of the Replies

filed by co-defendants in this matter, including, but not limited to, Doc. Nos. 196, 197,

and 198, as well as all other replies filed on behalf of any other co-defendant.

                                         Respectfully Submitted,



                                         Allen H. Digitally signed
                                                  by Allen H.
                                         Orenber Orenberg
                                                  Date: 2023.03.18
                                         g        10:46:22 -04'00'
                                         _____________________________
                                         Allen H. Orenberg, # 395519
                                         The Orenberg Law Firm, P.C.
                                         12505 Park Potomac Avenue, 6 th Floor
                                         Potomac, Maryland 20854
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                                         aorenberg@orenberglaw.com




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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 18th day of March, 2023, I served a copy of the

foregoing Defendant Harlow’s Notice of Joinder to all case registered parties by

CM/ECF.




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                                            Allen H.                 by Allen H.
                                                                     Orenberg
                                            Orenberg                 Date: 2023.03.18
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                                                _____________________________
                                                Allen H. Orenberg




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